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EPSTEIN BECKER & GREEN, P.C.
Attorneys for Defendant                                       Document Electronically Filed
Nationwide Mutual Insurance Company
One Gateway Center, 13th Floor
Newark, New Jersey 07102-5311
(973) 642-1900

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

                                       x
MARK PRZYBYLSKI,                       : CIVIL ACTION NO.
                                       :
                            Plaintiff,
                                       :
vs.                                    :
                                       :
NATIONWIDE           MUTUAL INSURANCE:
COMPANY,                                         NOTICE OF REMOVAL
                                       :
                            Defendant. :
                                       :
                                       x

TO:      THE HONORABLE JUDGES OF THE
         UNITED STATES DISTRICT COURT
         FOR THE DISTRICT OF NEW JERSEY

         Defendant, Nationwide Mutual Insurance Company (hereinafter referred to as “Defendant”

or “Nationwide”), by and through its attorneys, Epstein Becker & Green, P.C., hereby gives notice

of the removal of this action from the Superior Court of New Jersey, Morris County, to the United

States District Court, District of New Jersey. In support of the Notice of Removal, Nationwide

states as follows:

         1.       Plaintiff, Mark Przybylski (“Plaintiff” or “Przybylski”), commenced this action on

October 14, 2019 by filing a Complaint in the Superior Court of New Jersey, Law Division, Morris

County, entitled Mark Przybylski v. Nationwide Mutual Insurance Company, Docket No. MRS-

L-2212-19. Said action is now pending in that court.




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       2.      Defendant received its first notice of the Complaint on October 30, 2019, when

plaintiff served upon it a copy of the Summons and Complaint.

       3.      A copy of each of the foregoing papers, which constitutes all of the processes and

pleadings to date, is annexed hereto as Exhibit A.

       4.      The above-captioned action is a civil action over which this Court has diversity

jurisdiction pursuant to 28 U.S.C. §1332, in that:

               (a)     Defendant, Nationwide, is a corporation organized and existing under the

laws of the State of Ohio, with its principal place of business in Columbus, Ohio. Therefore, for

purposes of 28 U.S.C. §1332, Nationwide is deemed a citizen of the State of Ohio. See Ex. A, ¶ 3.

               (b)     Plaintiff, Mark Przybylski, is a citizen of the State of New Jersey. See Ex. A,

¶ 2.

               (c)     The amount in controversy as alleged in the Complaint exceeds the sum of

$75,000. Plaintiff seeks damages for unpaid wages, liquidated damages, and attorney’s fees and costs

pursuant to, inter alia, the New Jersey Wage Theft Act, N.J. Stat. § 34:11-56a et seq. See Ex. A, p. 4.

Plaintiff alleges he was paid $51,924.58 for “unspecified unpaid wages” and that said amount was

less than he was owed and did not compensate him for wages or overtime pay for work prior to 2017.

Id. ¶¶ 21-22. Under the New Jersey Wage Act, his claim for liquidated damages can be up to 200

percent (200%) of unpaid wages. N.J. Stat. § 34:11-56a25. Though Nationwide denies that Plaintiff

has any such entitlement, Plaintiff’s allegations that he was belatedly paid $51,924.58, after

applying a multiplier of 200%, amounts to a potential claim for up to $103,849.16 in liquidated

damages. This alone exceeds the value of $75,000 for the purposes of diversity jurisdiction.

               (d)     The above-captioned action is a civil action in which the amount in

controversy exceeds the sum or value of $75,000, exclusive of costs and interest, and is between




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citizens of different states. Therefore, this Court has diversity jurisdiction over the above-captioned

action pursuant to 28 U.S.C. §1332, which may properly be removed to the Court pursuant to 28

U.S.C. §1441 et seq.

       5.       In addition, the above-captioned action is a civil action over which this Court has

original jurisdiction under the provisions of 28 U.S.C. §1331, and is one that may be removed to this

Court by defendant pursuant to 28 U.S.C. §1441, in that:

                (a)    Plaintiff’s Complaint alleges claims arising under federal law in that Plaintiff

alleges that Defendant violated the Fair Labor Standards Act, 29 U.S.C. §201 et seq. See Ex. A,

¶¶ 30, 32. Accordingly, Plaintiff’s claims allege a cause of action governed by the Fair Labor

Standards Act, 29 U.S.C. §201 et seq. (“FLSA”).

       (b)      This Court has original jurisdiction over the above-captioned action pursuant to the

FLSA, which may properly be removed to this Court pursuant to 28 U.S.C. §1441. See, e.g.,

Conoshenti v. Pub. Serv. Elec. & Gas Co., 364 F.3d 135, 140 n.5 (3d Cir. 2004) (superseded by statute

on other grounds) (stating that the District Court had jurisdiction under 28 U.S.C. §1331 because the

case involved a federal question, and that removal was proper under 28 U.S.C. § 1441(b)); see also

Wis. Dep’t of Corr. v. Schacht, 524 U.S. 381, 386 (1998) (stating that removal based upon federal

question is proper where plaintiff’s claims “arise under” federal law).

        (c)     This Court has pendent jurisdiction over Plaintiff’s state law claims pursuant to 28

U.S.C. §1367.

       6.       This Notice of Removal is filed within the time provided by 28 U.S.C. §1446(b) and

the Federal Rules of Civil Procedure.

       7.       Upon filing of this Notice of Removal, Defendant shall give written notice thereof to

Damian Christian Shammas, Esq. and Colin M. Page, Esq., attorneys for Plaintiff, Mark Przybylski,




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and Defendant shall file copies of said Notice of Removal with the Clerk, Superior Court of New

Jersey, Law Division, Morris County, Morristown, New Jersey.

        8.         By filing this Notice, Defendant does not waive any defenses or claims which may be

available to it.

        9.         All defendants in this action have consented to the removal of this action to the District

Court for the District of New Jersey.

        WHEREFORE, Defendant, Nationwide Mutual Insurance Company, removes the above-

captioned action now pending against it in the Superior Court of New Jersey, Law Division, Morris

County, to the United States District Court for the District of New Jersey, wherein it shall proceed as

an action originally commenced therein.

                                                           s/ Maxine H. Neuhauser__
                                                           Maxine H. Neuhauser
                                                           Epstein Becker & Green, P.C.
                                                           One Gateway Center, 13th Floor
                                                           Newark, New Jersey 07102-5311
                                                           Telephone: (973) 642-1900
                                                           Facsimile: (973) 642-0099
                                                           Email: mneuhauser@ebglaw.com

DATED: November 25, 2019




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                          CERTIFICATE OF FILING AND SERVICE

        I hereby certify that on this date I caused a copy of the foregoing Notice of Removal to be

served upon Plaintiff, Mark Przybylski, via first class mail, to attorneys of Plaintiff, Collin M. Page,

Esq., at 2001 Route 46, Suite 310, Parsippany, New Jersey 07054 and to Damian Christian Shammas,

Esq. at 6 South Street, Suite 301, Morristown, New Jersey 07960. I hereby further certify that I caused

a copy of Defendant’s Rule 7.1 Corporate Disclosure Statement, Certification Pursuant to Local Civil

Rule 11.2, and Clerk’s Order Extending Time Pursuant To Local Rule 6.1(b) to be served upon

Plaintiff, via first class mail, to attorneys of Plaintiff, Collin M. Page, Esq., at 2001 Route 46, Suite

310, Parsippany, New Jersey 07054 and to Damian Christian Shammas, Esq. at 6 South Street, Suite

301, Morristown, New Jersey 07960. I hereby further certify that I caused a copy of the foregoing

document to be filed with the Clerk, Superior Court of New Jersey, Morris County Courthouse,

Washington & Court Streets, Morristown, New Jersey 07963 via eCourts.

                                                        s/ Maxine H. Neuhauser__
                                                        Maxine H. Neuhauser
                                                        Epstein Becker & Green, P.C.
                                                        One Gateway Center, 13th Floor
                                                        Newark, New Jersey 07102-5311
                                                        Telephone: (973) 642-1900
                                                        Facsimile: (973) 642-0099
                                                        Email: mneuhauser@ebglaw.com

DATED: November 25, 2019




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